Case: 4:23-cv-00093-RLW Doc. #: 221 Filed: 07/07/23 Page: 1 of 1 PageID #: 3927
                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                          No: 23-2455

                                       Cigna Corporation

                                                     Appellee

                                                v.

                                          Amy Bricker

                                                     Appellant

                                      CVS Pharmacy, Inc.


                                          No: 23-2458

                                       Cigna Corporation

                                                     Appellee

                                                v.

                                          Amy Bricker

                                      CVS Pharmacy, Inc.

                                                     Appellant

______________________________________________________________________________

       Appeals from U.S. District Court for the Eastern District of Missouri - St. Louis
                                   (4:23-cv-00093-RLW)
______________________________________________________________________________

                                            ORDER

       Appellants’ motions to expedite these appeals have been considered by the court, and the

motions are denied. The parties shall observe the consolidated briefing schedule previously

established for the appeals.


                                                        July 07, 2023

Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans
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